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     Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 1 of 13 - Page ID#:
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                               COMMONWEALTH OF KENTUCKY                             ELLIOTT CO Ci '~UiT; DI~TfiiC T COURT@
                                                                                    BY.
                                   ELLIOTT CIRCUIT COURT                               ~
                                       DIVISION:
                              CIVIL ACTION NO. 15-CI-

RAY FULTZ, EXECUTOR OF THE ESTATE OF                                                     PLAINTIFF
PLUMMER FULTZ

V.                                       COMPLAINT

DIVERSICARE LEASING CORP. d/b/a ELLIOTT                                              DEFENDANT
NURSING AND REHABILITATION CENTER

Serve by Certified Mail:

         Corporation Service Company, Registered Agent
         421 West Main Street
         Frankfort, KY 40601


         Comes the Plaintiff, Ray Fultz, Executor of the Estate of Plummer Fu1tz, by counsel, and on

behalf of the wrongful death benef ciaries of Plummer Fultz, and for his cause of action against

Defendant, Diversicare Leasing Corp. d/b/a Elliott Nursing and Rehabilitation Center, states as

follows:

                                             COUNTI
      1. The Plaintiff, Ray Fultz, is the appointed, qualified and acting Personal Representative of

         the Estate of Plummer Fultz, and on behalf of the wrongful death beneficiaries of Plummer

         Fultz, as appointed by the Order of the Carter County District Probate Court, Case No. 14-P-

         166, on October 12, 2015, and therefore brings this action on behalf of the Estate of

         Plummer Fultz, pursuant to the Survival of Actions Statute (K.R.S. § 411.140) and the

         Wrongful Death Statute (K.R.S. § 411.130). A copy of the Order of Appointment is

         attached hereto as Exhibit A.

      2. Ray Fultz, Executor of the Estate of Plummer Fultz is a resident of Olive Hill, Carter

         County, Kentucky.
Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 2 of 13 - Page ID#: 5


 3. Upon information and belief, Plummer Fultz, was at the time of his death a resident of

    Diversicare Leasing Corp. d/b/a Elliott Nursing and Rehabilitation Center located at Route

    32 East, Howard Creek Road, Sandy Hook, Elliott County, Kentucky 41171.

 4. At all times relevant to this action, Plummer Fultz, was of unsound mind.

 5. The Defendant, Diversicare Leasing Corp. d/b/a Elliott Nursing and Rehabilitation Center

    [hereinafter Defendant] is a Corporation organized and existing under the laws of Tennessee

    with its principal place of business at 1621 Galleria Boulevard, Brentwood, TN 37027. Its

    registered agent for service of process in Kentucky is Corporation Service Company, 421

    West Main Street, Frankfort, KY 40601.

 6. The Defendant controlled the operation, planning, management, budget and quality control

    of Elliott Nursing and Rehab Center. The authority exercised by Defendant over the nursing

    facility included, but was not limited to, control of marketing, human resources

    management, training, staffmg, creation and implementation of all policy and procedure

    manuals used by the nursing facilities in Kentucky, federal and state reimbursement, quality

    care assessment and compliance, licensure and certification, legal services and financial, tax

    and accounting control through fiscal policies established by the Defendant.

 7. Jurisdiction and venue are proper in this Court.

                                  FACTUAL ALLEGATIONS

 8. Plaintiff realleges and reaffirms all the allegations contained . in the paragraphs above, and

    incorporates same as if fully set forth herein.

 9. Upon information and belief, Plummer Fultz was looking to the Defendant for treatment of

    his total needs for custodial, nursing and medical care and not merely as the situs where

    others not associated with the facility would treat him.




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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 3 of 13 - Page ID#: 6


 10. At all relevant times mentioned herein, Defendant owned, operated and/or controlled the

    Elliott Nursing and Rehab Center, either directly or through the agency of others and/or

    other diverse subalterns, subsidiaries, governing bodies, agents, servants or employees.

 11. The Defendant is directly or vicariously liable for any acts and omissions by any person or

    entity, controlled directly or indirectly, including any governing body, officer, employee,

    ostensible or apparent agent, consultant or independent contractor, whether in-house or

    outside individuals, entities, agencies or pools.

 12. Defendant failed to discharge its obligations of care to Plummer Fultz, and in so failing,

    displayed a conscious disregard for his rights and safety. At all times mentioned herein,

    Defendant, individually and/or through its corporate officers and administrators, had

    knowledge of, ratified and/or otherwise authorized all of the acts and omissions that caused

    the injuries suffered by Plummer Fultz, as more fally set forth below. Defendant knew that

    this facility could not provide the minimum standard of care to the weak and vulnerable

    residents of Elliott Nursing and Rehab Center, including Plummer Fultz.

 13. Due to the wrongful conduct of the Defendant, Plummer Fultz, suffered accelerated

    deterioration of his health and physical condition beyond that caused by the normal aging

    process, including, but not limited to, the following:

        a. Poor wound care; and

        b. On or about three to four falls in 2014, ultimately resulting in a broken neck/bones

            and death.

 14. Plummer Fultz also suffered unnecessary loss of personal dignity, pain and suffering,

    degradation, emotional distress, permanent impairment of his power to earn money,

    hospitalizations and death, all of which were caused by the wrongful conduct of the

    Defendant as alleged below.


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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 4 of 13 - Page ID#: 7
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             CAUSES OF ACTION AGAINST NURSING HOME DEFENDANTS

                                          COUNT ONE
                                          NEGLIGENCE

 15.Plaintiff realleges and reaffirms all the allegations contained in the paragraphs above, as

    incorporates same as if fully set forth herein.

 16.Defendant owed a non-delegable duty to Plummer Fultz, to provide the custodial care,

    services and supervision that a reasonably careful nursing home would provide under similar

    circumstance.

 17.Upon information and belief, the Defendant knowingly developed and maintained staffing

    levels at the facility without regard for patient acuity levels as well as for the minimum time

    required to perform the essential functions of providing care to Plummer Fultz and to protect

    him from falling.

 18.Defendant negligently failed to deliver care, services and supervision, including, but not

    limited to, the following acts and omissions:

        a. The failure by the members of the governing body of the facility to discharge their

           legal and lawful obligation by:

                i. Ensuring compliance with the rales and regulations designed to protect the

                    health and safety of Plummer Fultz, as promulgated by the Cabinet for Health

                    and Family Services, Division of Long Term Care;

               ii. Ensuring compliance with the resident care policies for the facility; and

              iii. Ensuring that appropriate corrective measures were implemented to correct

                    problems concerning inadequate resident care;

        b. The failure to develop, implement and follow policies to assist Plummer Fultz in

           attaining and maintaining the highest level of physical, mental and psychological

           well-being and to promote his healing or cure;

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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 5 of 13 - Page ID#: 8


       c. The failure to maintain all records on Plummer Fultz in accordance with accepted

           professional standards and practices;

       d. The failure to provide the minimum number of qualified personnel to meet the total

           needs of Plummer Fultz;

       e. The failure to monitor or increase the number of nursing personnel at Elliott Nursing

           and Rehab Center to ensure that Plummer Fultz:

               i. Received timely and accurate care assessments;

              ii. Received prescribed treatment, medication and diet;

              iii. Received timely custodial, nursing and medical intervention due to a

                  significant change in condition; and

              iv. Sufficient monitoring as well as assistance with mobility so as to prevent

                  falls;

       f. The failure to provide a nursing and other staff that were properly staffed, qualified

          and trained.

       g. The failure to have in place adequate guidelines, policies and procedures for Elliott

          Nursing and Rehab Center and to administer those policies through enforcement of

          any rules, regulations, by — laws or guidelines;

       h. The failure to take reasonable steps to prevent, eliminate and correct deficiencies and

          problems in resident care at Elliott Nursing and Rehabilitation Center; and

       i. The failure to provide a safe environment for care, treatment and recovery, and to

          exercise ordinary care and attention for the safety of residents in proportion to the

          physical and mental ailments of each particular resident, known or discoverable by

          the exercise of reasonable skill and diligence.

       j. The failure to assess the risk of and prevent falls;


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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 6 of 13 - Page ID#: 9


 19. A reasonably careful nursing facility would not have failed to provide the care listed above.

    It was foreseeable that these breaches of ordinary care would result in injuries to Plummer

    Fultz. Each of the foregoing acts of negligence on the part of the Defendant was

    accomplished by such wanton or reckless disregard for the health and safety of Plummer

    Fultz as to constitute gross negligence.

 20. Pursuant to KRS 446.070, Plaintiff also alleges Defendant violated statutory and regulatory

    duties of care, the violations of which are actionable as negligence per se. Plummer Fultz

    was injured by the statutory violations of Defendant and is within the class of persons for

    whose benefit the statues were enacted and who were intended to be protected by these

    statutes. The negligence per se of Defendant included, but is not. limited to violation(s) of

    the following:

        a. Violation(s) of KRS 209.005 et seq. and the regulations promulgated there under, by

            abuse, neglect andlor exploitation of Plummer Fultz;

        b. Violation(s) of KRS 508.090 et seq., criminal abuse, by committing intentional,

            wanton or reckless abuse of Plummer Fultz, or permitting Plummer Fultz, a person

            of whom Defendant had actual custody, to be abused. Such abuse caused serious

            physical injury, placed Plummer Fultz in a situation that might cause him serious

            physical injury, and/or caused torture, cruel confinement or cruel punishment of

            Plummer Fultz;

        c. Violation(s) of KRS 530.080 et seq., endangering the welfare of an incompetent

            person, by knowingly acting in a manner which resulted in an injury to the physical

            and/or mental welfare of Plummer Fultz, who was unable to care for himself because

            of inental illness;




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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 7 of 13 - Page ID#: 10


         d. Violation(s) of KRS 506.080, criminal facilitation of criminal act(s), by acting with

             knowledge that another person or entity was committing one or more of the

             foregoing criminal acts, and engaged in conduct which knowingly provided another

             person or entity the means or opportunity for the commission of such criminal act(s)

             and which in fact aided another person or entity to commit the criminal act(s); and

             /or

         e. Violation(s) of the statutory standards and requirements governing licensing and

             operation of long term care facilities as set forth by the Cabinet for Health and

             Family Services, pursuant to provisions of KRS Chapter 216 and the regulations

             promulgated there under, as well as the applicable federal laws and regulations

             governing the certification of the long-term care facilities under Titles XVIII or XIX

             of the Social Security Act.

 21. As a direct and proximate result of such grossly negligent, wanton or reckless conduct,

     Plummer Fultz suffered the injuries described above. Plaintiff asserts a claim for judgment

     for all compensatory and punitive damages against the Defendant including, but not limited

     to, medical expenses, pain and suffering, permanent impairment of Plaintiffls decedent's

     power to earn money, mental anguish and disfigurement, in an amount to be determined by

     the jury, but in excess of the minimum jurisdictional requirements of this Court, plus costs

     and all other relief to which Plaintiff is entitled by law.

                                         COUNT TWO
                                     MEDICAL NEGLIGENCE

  22. Plaintiff realleges and reaff'ums a11 the allegations contained in the paragraphs above, and

     incorporates same as if fully set forth herein.

  23. Defendant had a duty to provide the standard of professional medical care and services of

     reasonably competent nursing facility acting under the same or similar circumstances.

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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 8 of 13 - Page ID#: 11


 24. Defendant failed to meet applicable standards of inedical ca're. The medical negligence or

    malpractice of the Defendant included, but was not limited to, the following acts and

    omissions:

        a. The overall failure to ensure that Plummer Fultz received the following:

                 i. Timely and accurate care' assessments;

                 ii. Prescribed treatment, medication and diet;

              iii. Necessary supervision;

               iv. Timely nursing and medical intervention due to a significant change in

                    condition; and

                 v. Sufficient monitoring as well as assistance with mobility so as to prevent

                    falls;

        b. The failure to hire and retain sufficient professional nursing staff;

        c. The failure to adequately assess, evaluate and supervise nursing personnel;

        d. The failure to provide and implement an adequate nursing care plan based on the

            needs of Plummer Fultz;

        e. The failure to access the risk and prevent, treat or heal the development of or

            worsening of pressure sores or lesions;

        f. The failure to assess the risk of and prevent falls;

        g. T'he failure to assess the risk and prevent, treat or heal the development of or

            worsening of malnutrition;

        h. The failure to provide care, treatment and medication in accordance with physician's

            orders; and




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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 9 of 13 - Page ID#: 12

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        i. The failure to adequately and appropriately monitor Plummer Fultz and recognize

            significant changes in his health status, and to timely notify his physician of

            significant changes in his health status;

        j. Violation(s) of the statutory standards and requirements governing licensing and

            operation of long-term care facilities as set forth by the Cabinet for Health and

            Family Services, pursuant to provisions of KRS Chapter 216 and the regulations

            promulgated thereunder, as well as the applicable federal laws and regulations

            governing the certification of long-term care facilities under Titles XVIII or XIX of

            the Social Security Act.

 25. It was foreseeable that the breaches of care listed above would result in injuries to Plummer

     Fultz. A reasonably competent nursing facility acting under the same or similar

     circumstances would not have failed to provide the care listed above.

 26. Each of the foregoing acts of professional or medical negligence on the part of the

     Defendant was accompanied by such wanton or reckless disregard for the health and safety

     of Plummer Fultz as to constitute gross negligence.

  27. As a direct and proximate result of such grossly negligent, wanton or reckless conduct,

     Plummer Fultz suffered the injuries described above. Plaintiff asserts a claim for judgment

     for all compensatory and punitive damages against the Defendant including, but not limited

     to, medical expenses, permanent impairment of Plummer Fultz's power to earn money, pain

     and suffering, mental anguish, disability, disfigurement, and death in an amount to be

     determined by the jury, but in excess of the minimum jurisdictional requirement of this

     Court, plus costs and all other relief to which Plaintiff is entitled by law.

                                COUNT THREE
               VIOLATIONS OF LONG TERM CARE RESIDENTS' RIGHTS



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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 10 of 13 - Page ID#: 13


  28. Plaintiff realleges and reaffirms all the allegations contained in the paragraphs above, as

     incorporates same as if fully set forth herein.

  29. The Defendant violated statutory duties owed to Plummer Fultz as a resident of a long term

     care nursing facility, Kentucky Revised Statutes sections 216.510 et seq. These statutory

     duties were non-delegable.

  30. Violations of the residents' rights of Plummer Fultz include, but are not limited to, the

     following:

         a. Violation of his right to be free from mental and physical abuse;

         b. Violation of the right to be treated with consideration, respect, and full recognition of

             his dignity and individuality, including privacy in treatment and in care of his

             personal needs;

         c. Violation of the right to have a responsible party or family member or his guardian

             notified immediately of any accident, sudden illness, disease, unexplained absence or

             anything unusual involving the resident;

         d. Violation of the right to have an adequate and appropriate resident care plan

             developed, implemented and updated to meet his needs;

         e. Violation of the right to have the Defendant develop and implement a mechanism

             with would have allowed Plummer Fultz and the responsible party or his responsible

             family member or his guardian to participate in the planning of his care;

         f. Violation of the right to be given assistance when needed in maintaining body

             hygiene and good grooming; and

         g. Violation of the statutory standards and requirements governing licensing and

             operation of long-term care facilities as set forth by the Cabinet for Health and

             Family Services, pursuant to provisions of KRS Chapter 216 and the regulations


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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 11 of 13 - Page ID#: 14


             promulgated thereunder, as well as the applicable federal laws and regulations

             governing the certiflcation of long-term care facilities under Titles XVIII or XIX of

             the Social Security Act.

  31. The aforementioned deprivations and infringements of the rights of Plummer Fultz entitle

     Plaintiff to recover actual and punitive damages from the Defendant in an amount to be

     determined by the jury, but in excess of the minimum jurisdictional requirement of this

     Court, as well as costs and attorney's fees.

                                          COUNT FOUR
                                        WRONGFUL DEATH

  32. Plaintiff realleges and reaffirms all the allegations contained in the paragraphs above, as

     incorporates same as if fully set forth herein.

  33. As a direct and proximate result of the previously alleged conduct, all of which was grossly

     negligent and/or negligent, willful and wanton, outrageous or reckless, Defendant caused the

     death of Plummer Fultz.

  34. Plummer Fultz suffered personal injury including excruciating pain and suffering, mental

     anguish and emotional distress. The pain, disfigurement and loss of dignity suffered by

      Plummer Fultz caused his family to suffer more than normal grief upon his death.

  35. As a direct and proximate result of the wrongful death suffered by Plummer Fultz, Plaintiff

      asserts a claim for judgment for all compensatory and punitive damages against Defendant,

      including, but not limited to, medical expenses, funeral expenses and other related costs,

      pain and suffering, the grief suffered by statutory beneficiaries, mental anguish, impairment

      of earning capacity, disability and loss of the enjoyment of life in an amount to be

      determined by the jury, but in excess of the minimum jurisdictional requirement of this

      Court, as well as costs and attorney's fees, plus interest and all other relief to which Plaintiff

      is entitled by law.

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Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 12 of 13 - Page ID#: 15



                                       REQUEST FOR RELIEF

       WHEREFORE, Ray Fultz, as Executor of the Estate of Plummer Fultz, and on behalf of

the wrongful death beneficiaries of Plummer Fultz, prays for judgment against the Defendant, for

the damages and injuries set forth above, in an amount to be determined from the evidence, the

costs herein expended, a reasonable attorney's fee and all other relief to which Plaintiff is entitled,

including TRIAL BY JURY.

                                               Respectfully submitted,


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       Patrick Flazmery
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                                                Aaz n D. Reedy
       Patrick Flannery Law, PLLC               Jacob K. Michul
       P.O. Box 1269                            HURT, DECKARD & MAY, PLLC
       Olive Hill, KY 41164                     127 West Main Street
       Telephone: (606) 286-9038                Lexington, KY 40507
       Facsimile: (606) 286-0151                Telephone: (859) 254-0000
       E-Mail: flannerylaw@gmail.com            Facsimile: (859) 254-4763
       Co-Counsel for Plaintiff                 E-Mail: azeedy@hdmfirm.com
                                                E-Mail: jmichul@hdmfirm.com
                                                Co-Counsel for Plaintiff




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      Case: 0:15-cv-00112-HRW Doc #: 1-1 Filed: 12/09/15 Page: 13 of 13 - Page ID#: 16

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                                 COMMONWEALTH OF KENTUCKYi ~ c OCT 12 2015
                                  CARTER DISTRICT COURT    r•.. '----_--__        ',~
                                   CASE NO. 14-P-00166                     v. ~.
                                                                              ``'

        In Re: Estate of Plummer Fultz                              ~

                                            ORDER

                This matter is before the Court on the motion of Ray Fultz
        to substitute the personal representative of the estate and hold

        the estate open for further administration. The Court, having

        considered the motion and being otherwise duly and sufficiently

        advised, it is hereby ORDERED that:

              1.       The current executor is discharged and Ray Fultz is

        hereby appointed successor executor; and

              2.       The   estate     shall     remain    open     for           further
        administration. -Oa.5.,000 uNSCGet,¢eJ a`nd'
                So ORDERED this     ! aK     day of October, 2015.


                                                           Ala"
                                       Judge, C ter District Court

                             CERTIFICATE OF SERVICE
             I hereby certify that a copy of the foregoing was served
        upon the parties hereto, on this the 15~'="jE day of October, 2015,
        by mailing a true and correct copy of same to:

         1.     Carter Co. Circuit Court Clerk
         2.     Hon. Truman Dehner, 206 E. Main St., Morehead, KY 40351
         3.     Bertha Lambert, 142 Douglas Hollow, Olive Hill, KY 41164
         4.     Hon. Patrick Flannery, P.O. BOX 1269, Olive Hill., KY 41164


                                                                                       D.C.
ATTEST A TRUE COPY.                    Clerk, tarter'District Court
LARRY D. THOMPSON, OtERK—
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